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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE AMERICAN HOSPITAL               )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )
      v.                            )                    No. 1:18-cv-02112-JDB
THE DEPARTMENT OF HEALTH            )
AND HUMAN SERVICES, et al.,         )
                                    )
                  Defendants.       )
___________________________________ )

                                       STATUS REPORT

       Following a December 17, 2018 status conference, the Court issued a minute order

requiring defendants to “file status reports pertaining to their progress in publishing pricing data

by not later than February 28, 2019 and March 14, 2019.” Minute Order, Dec. 18, 2018.

Defendants filed their initial status report on February 28, 2019. ECF No. 32. Consistent with

their representations at the status conference and in the prior report, Defendants anticipate that

covered entities will have access to ceiling prices via the Office of Pharmacy Affairs Information

System pricing system on April 1, 2019. The attached declaration from Krista Pedley, Director

of the Office of Pharmacy Affairs, Healthcare Systems Bureau, Health Resources and Services

Administration, U.S. Department of Health and Human Services, provides additional details on

Defendants’ progress.




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Date: March 14, 2019                Respectfully submitted,

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